         Case 3:18-md-02843-VC Document 797 Filed 01/10/22 Page 1 of 9




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC


This document relates to:                      CORRECTED JOINT STATUS UPDATE

ALL ACTIONS                                    Judges: Hon. Vince Chhabria and
                                               Hon. Jacqueline Scott Corley
                                               Courtroom: VIA VIDEOCONFERENCE
                                               Hearing Date: January 11, 2022
                                               Hearing Time: 9:00 a.m.




JOINT STATUS UPDATE                                                              MDL NO. 2843
                                                                  CASE NO. 18-MD-02843-VC-JSC
         Case 3:18-md-02843-VC Document 797 Filed 01/10/22 Page 2 of 9




                          PLAINTIFFS’ SEPARATE STATEMENT

       Since the parties last reported to the Court prior to the November 16, 2021 hearing, the

parties had a full day settlement mediation session with Judge Gandhi during which the parties

did not reach a resolution. Additionally, the parties have had a multi-hour hearing with Special

Master Garrie regarding Facebook’s production of ADI-related materials and the Special Master

held an ex parte hearing with Facebook on its search for the Zuckerberg notebooks. On

December 22, 2021, Special Master Garrie held an emergency hearing on Facebook’s motion to

stay pending appeal of the Special Master’s amended order regarding Plaintiffs’ motion to

compel production of Plaintiff Data which for which he granted a brief stay to January 6, 2022,

subject to Facebook providing what additional information it can produce regarding the

numerous data systems it had identified as storing or interacting with user data by December 23,

2021. On January 6, 2022, Facebook provided additional information but indicated it was unable

to provide (1) “‘a description of the types of Named Plaintiff data contained’ in each data

system; (2) the ‘most common functions and purpose’ of each data system or ‘the business units,

divisions, or groups that use the system’” as required by the Special Master’s order. The parties

also attended a half-day discovery mediation session on December 16, 2022, in which the parties

addressed ongoing disputes related to scheduling depositions, Plaintiffs’ written discovery

responses, and coordinating a holiday détente.

       Since the parties’ last joint statement, Special Master Garrie issued rulings (i) ordering

Facebook to produce ADI-related documents including all memoranda prepared by FTI

Consulting or Stroz Friedberg, all background reports, technical reports, audits, and non-attorney

developer interviews in connection with ADI (Dkt. No. 766) (and an amended order further

refining these instructions (Dkt. No. 776)); (ii) denying Facebook’s motion to compel the

depositions of former Named Plaintiffs; (iii) granting Plaintiffs’ motion to depose Michael
JOINT STATUS UPDATE                              1                                    MDL NO. 2843
                                                                       CASE NO. 18-MD-02843-VC-JSC
         Case 3:18-md-02843-VC Document 797 Filed 01/10/22 Page 3 of 9




Vernal and Anne Lewis; (iv) amending his order regarding Plaintiff Data—requiring Facebook

to provide information for the numerous data sources listed in the Declaration of David Pope

(Dkt. No. 793); and (v) amending the earlier entered Deposition Scheduling Protocol Order (Dkt.

No. 789). Facebook sought partial reconsideration of the order regarding the Vernal and Lewis

depositions. Facebook likewise appealed to this Court the Special Master’s Order denying the

depositions of former Named Plaintiffs, the Amended Order Re: Plaintiff Data, and the Amended

Order Regarding Production of ADI Related Documents (Dkt. No. 778, 780, 782). Plaintiffs filed

an administrative motion seeking that motion to strike these appeals for failing to conform with

Judge Chhabria’s Order Appointing Special Discovery Master (Dkt. No. 709), and the Court

struck Facebook’s improper argument denied Plaintiffs’ administrative motion as moot (Dkt. No.

783). The parties also proposed protocols to the Special Master regarding the Special Master’s

Order re Business Partners, the search and collection of Zuckerberg and Sandberg custodial

documents, and Plaintiffs’ sought relief regarding Phase 1 depositions. The parties have each

taken two Phase 1 depositions (four depositions in total) and six additional Phase 1 depositions

are scheduled (three depositions of Named Plaintiffs and three of current/former Facebook

employees). The parties have exchanged lists of proposed deponents and dates for Phase II

(January 31-April 1, 2022), but have only agreed to two Plaintiff deposition dates for this phase.

       Plaintiffs also highlight the following areas to reflect their continuing concern with the

pace of discovery in this action and, more specifically, with Facebook’s continued efforts to slow

or outright halt the orderly progress of this case.

       Depositions. As the Court is aware, Judge Chhabria entered a case schedule in July that

scheduled depositions to start on November 1, 2021. Dkt. No. 706. Despite Plaintiffs’ efforts to

schedule depositions starting in November—which included not only seeking dates for

depositions of Facebook witnesses in November, but also offering dates for a number of Named

JOINT STATUS UPDATE                                   2                               MDL NO. 2843
                                                                       CASE NO. 18-MD-02843-VC-JSC
         Case 3:18-md-02843-VC Document 797 Filed 01/10/22 Page 4 of 9




Plaintiffs during that month—depositions did not commence until December, and Plaintiffs’ first

deposition of a Facebook witness did not occur until December 16. To date, Plaintiffs have only

been able to take two depositions. Moreover, only three additional depositions of Facebook

witnesses are presently scheduled for January, despite an order from the Special Master that 10

depositions of Facebook witnesses should be completed by the end of the month.

       Deposition scheduling, which is usually the subject of agreement between opposing

parties, has itself given rise to lengthy litigated disputes, including Facebook’s refusal to make

available for deposition any witness who had previously been deposed in any prior action

Facebook identified as related. This refusal included one witness whose prior deposition

occurred in 2010, before the majority of the events relevant in this case had occurred, and

another who testified in a securities fraud investigation that did not concern any of the

allegations Plaintiffs make here. Facebook’s refusal to permit such witnesses to be deposed is

even more startling because it has not provided the exhibits to the prior depositions. The parties

have engaged in mediation and two rounds of briefing on this issue alone.

       Document Production. Despite the considerable efforts of the Discovery Mediators and

Special Master, Facebook’s document production continues at the same anemic pace it was at

when Judge Chhabria appointed the Special Master. Indeed, Facebook has not produced any

documents in response to the Special Master’s numerous orders compelling additional

production. For example, the Special Master issued orders compelling Facebook to produce

additional ADI-related documents, Dkt. No. 766, Dkt. No. 776, and documents reflecting all

Named Plaintiffs’ data in Facebook’ possession, Dkt. No. 780. Each of these orders addressed

disputes this Court had already addressed. See Dkt. No. 557 (Discovery Order No. 9, ordering

the production of data Facebook collected from the Named Plaintiffs’ on-platform activity,

obtained from third parties regarding the Named Plaintiffs’ off-platform activities; and inferred

JOINT STATUS UPDATE                              3                                     MDL NO. 2843
                                                                        CASE NO. 18-MD-02843-VC-JSC
         Case 3:18-md-02843-VC Document 797 Filed 01/10/22 Page 5 of 9




from the Named Plaintiffs’ on- and off-platform activities); Dkt. No. 736 (Order Granting

Motion to Compel ADI Materials, ordering the production of background and technical reports,

audits, and developer interviews of the six exemplar apps chosen by the parties and “additional

materials consistent with the guidance offered by this Order”). Though these issues had been

thoroughly briefed before this Court, Facebook sought extensions of time to further brief both

before the Special Master and has recently appealed these rulings.

       As a result, Facebook has not produced any documents reflecting Named Plaintiffs’ data

since February 2021. And it has produced only 11 documents in response to the Court’s Order

Granting Motion to Compel ADI Materials, none of which were produced in response to the

Special Master’s order.

       Discovery Mediation and Disputes. The Discovery Mediators and Special Masters have

worked diligently to seek resolution of discovery disputes and resolve impasses where no agreed

resolution can be reached. However, there remain substantial outstanding issues. Though the

parties are less than one month from the substantial completion of document production

deadline, Facebook has still not engaged with Plaintiffs regarding the collection and production

of non-custodial ESI or any sources of custodial documents other than email or chats. Moreover,

the parties are at impasse regarding hundreds of documents that Facebook has withheld as

privileged and, past being prologue, Plaintiffs expect the list of disputed documents to grow as

Facebook provides additional privilege logs.

       In sum, though discovery has progressed over the past few months, Facebook continues

to slow, and in some cases bring to a grinding halt, the orderly progress of this case. More

concerning, in some instances, it has started to tell Plaintiffs, the Discovery Mediators, and the

Special Master that it is too late in the schedule to address these issues, after previously and

repeatedly asserting that it was too soon to address them.

JOINT STATUS UPDATE                               4                                     MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC-JSC
           Case 3:18-md-02843-VC Document 797 Filed 01/10/22 Page 6 of 9



                               FACEBOOK’S SEPARATE STATEMENT
          The Court has made clear that it will no longer consider separate discovery statements

from the Parties, particularly those that seek to undermine or circumvent the process before the

discovery mediators and Special Master. June 23, 2021 Trans at 3:8-21 (“I didn’t receive a joint

status update, so I’m going to set my own agenda . . . I need a joint one. If I don’t have a joint

one I’m not going to do it.”). Facebook provided Plaintiffs a proposed joint progress update

similar to those the Parties have submitted for many months and based on a status summary

drafted by Judge Andler. Plaintiffs insisted on providing their own statement. It is not clear

what Plaintiffs intend to achieve by using a disfavored separate statement to complain about

discovery issues the Special Master is currently addressing or has already resolved. The Special

Master—who has deep visibility into the status of the parties’ discovery efforts—has repeatedly

rejected the same false accusations Plaintiffs use in their separate statement to raise.1

          Apparently unhappy that the Special Master has consistently found no defects in

Facebook’s discovery process—including after reviewing a sample of nonresponsive

documents—Plaintiffs apparently seek off-the-cuff guidance from the Court without providing

any context for the issues they raise. The Court specifically appointed a mediator and then a

Special Master to dig into these types of “laments and complaints,” because it is not possible nor

a proper use of judicial resources for the Court to get into the weeds of disputes about things like

1
    It is not correct that Facebook has not produced materials the Special Master ordered produced
    (except for those on appeal). Facebook has now produced nearly 2.2 million pages of
    documents, in addition to 80 gigabytes of raw data (by conventional measures, this volume of
    data is equivalent to an additional 4 to 6 million printed pages). Nor is it true that Facebook
    has produced only “emails and chats”; it has searched and/or produced materials from more
    than a dozen data sources, including both custodial and non-custodial sources.

    As for depositions, Facebook agrees that scheduling has been challenging. Facebook has only
    been able to take two Named Plaintiff depositions, even though it first noticed these depositions
    in January 2020. A number of the “Phase II” depositions Plaintiffs seek to take have not been
    scheduled because the depositions they seek include 30(b)(6) depositions for which Plaintiffs
    have not noticed the 30(b)(6) topics, former Facebook employees (i.e. third parties) who have
    not been subpoenaed and whom Facebook has been making a good faith effort to contact in the
    first instance, a former employee who was deposed in a related matter only three months ago
    (Facebook produced the transcript to Plaintiffs and they have not shown good cause to redepose
    the witness as required by the Special Master’s Deposition Protocol), and Facebook employees
    whom Plaintiffs indicated they wish to depose less than one week ago. Again, the nuances of
    these disputes are why mediators and a Special Master were appointed.
JOINT STATUS UPDATE                                5                                    MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC-JSC
          Case 3:18-md-02843-VC Document 797 Filed 01/10/22 Page 7 of 9



deposition scheduling and whether particular ESI sources have been produced (they

have). March 4, 2021 Trans. at 14:21, 14:10.

       It will not surprise the Court that Facebook also has a number of concerns about

Plaintiffs’ discovery conduct. These include:
   1. Plaintiffs’ pattern of litigating over-and-over settled issues this Court has already
      addressed and ruled on in an effort to either convince the Special Master to change this
      Court’s clear rulings or renege on past concessions and agreements. A number of this
      Court’s rulings were the result of a full year of piecemeal hearings and briefing before
      this Court. Plaintiffs are not only ignoring that work but also putting the Special Master
      in the uncomfortable and difficult position of trying to piece together that complicated
      history to remain true to this Court’s instructions. This has led to many hundreds of
      hours of unnecessary briefing. Some of the past disputes Plaintiffs have relitigated are
      easy to untangle. Others are not. As a result of Plaintiffs’ opportunistic insistence on
      reopening these long settled issues before a new decider, clarity is now needed from this
      Court on its orders regarding (i) the types of “underlying factual” materials this Court
      found discoverable from ADI, (ii) whether data Facebook never shared or made
      accessible outside of Facebook is discoverable in this data-sharing class action, and (iii)
      Facebook’s right to depose former named plaintiffs who participated in this case for more
      than two years and have reserved their right to rejoin.
   2. Plaintiffs’ continued refusal to disclose basic information about their claims that should
      have been disclosed at the outset of the case. Almost four years into this case, Plaintiffs
      still have not identified what supposedly “sensitive” information about users Plaintiffs
      claim this case is about, where else Plaintiffs’ and their friends shared that information
      off of Facebook’s Platform, or how Plaintiffs contend they were harmed.

Facebook does not ask the Court to address, much less weigh in on, these issues. Like the issues

Plaintiffs raise, these concerns are subject to ongoing mediation and litigation before the Special

Master.

       Below, Facebook provides the neutral, high-level status update that Facebook suggested

the parties file and which also tracks a summary Judge Andler provided. Plaintiffs refused to

agree to this simple update:

       Since the Parties’ last joint submission on November 15, 2021, they participated in a brief

mediation session during which they scheduled two depositions and one half-day discovery

mediation, during which they:

   1. Negotiated various disputes related to depositions;

   2. Reached agreement on certain deposition scheduling issues;

   3. Discussed Plaintiffs’ objections to responding fully to certain interrogatories; and


JOINT STATUS UPDATE                              6                                    MDL NO. 2843
                                                                       CASE NO. 18-MD-02843-VC-JSC
           Case 3:18-md-02843-VC Document 797 Filed 01/10/22 Page 8 of 9




      4. Agreed to a holiday détente.

         Outside of mediation, the parties briefed (and the Special Master ruled on) numerous

discovery disputes. The Special Master’s formal rulings have been filed with the Court; various

other informal rulings have also been issued. Facebook sought reconsideration of three of the

Special Master’s rulings and has appealed three orders to the Court. The mediators declared

impasse on additional not-mediated issues, which will be briefed to the Special Master in

January 2022.

         The parties conducted four depositions in December, and participated in a mediation

before the Honorable Jay Gandhi (Retired) on November 20.




Dated: January 10, 2022                                  Respectfully submitted,


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JOINT STATUS UPDATE                              7                                   MDL NO. 2843
                                                                      CASE NO. 18-MD-02843-VC-JSC
         Case 3:18-md-02843-VC Document 797 Filed 01/10/22 Page 9 of 9




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JOINT STATUS UPDATE                      8                            MDL NO. 2843
                                                       CASE NO. 18-MD-02843-VC-JSC
